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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )          4:01CR148-6
                                         )
                   Plaintiff,            )
                                         )
      vs.                                )
                                         )          ORDER
DARRELL MILLER,                          )
                                         )
                   Defendant.            )

        IT IS ORDERED that W. Randall Paragas’ motion to withdraw as defense counsel
(filing 438) is granted.

      October 11, 2006.                      BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
